
The Supreme Court affirmed the decree of the Common Pleas, on May 11th, 1885, in the following opinion:
Per Curiam.
The sole contention is as to the right of the appellee to construct its road on Lafayette street in the Borough of Norristown. The appellants own lots fronting on the street. They have no-greater right than any private person owning a lot fronting thereon has to prevent the construction of the railroad. No-question as to the measure of damages, or giving- security for the payment thereof arises. They are out of the question. The municipal authorities have given their permission to lay the-track on the street. It is in the line of the corporate franchise of the appellee. Under these facts, the right to so lay it, is too well sustained by the authorities to be successfully questioned.
Decree affirmed and appeal dismissed at the costs of appellants.
